Case 2:10-cr-20194-SHM Document 60-3 Filed 08/25/14 Pagelofi PagelD 239

“WILLIAM HARNESS
19503-075

TERRE HAUTE FCI
PO BOX 33

Terre Haute, IN 47808

Clerk of the Court

United States District Court

WESTERN DISTRICT OF TENNESSEE

Re: USA v. Harness, 10-201941-01-MA
Dear Sirs and Mesdames,

Enclosed, for filing, please find a Pro Se Motion to Reduce
Sentence, brought pursuant to 18 U.S.C. § 3582 (c) (2). A
certificate of service on opposing counsel is annexed.

Would you kindly confirm filing, and apprise me of any
return date? Thank you, and I am,

Sincerely yours,

~

encs.

Wilkiam Harness
Pro Se

CC: United States Attorney
